LAURA CURRAN JARED A. KASSCHAU
County Executive County Attorney
COUNTY OF NASSAU
OFFICE OF THE COUNTY ATTORNEY
January 28, 2019

VIA ECF

Hon. Sandra J. Feurstein
United States District Court
100 Federal Plaza

Central Islip, New York 11722

Re: Carl Semencic v. County of Nassau, et al.
18-CV-05244 (SIFKAKT)

Dear Judge Feuerstein:

This office represents defendants The County of Nassau, The Nassau County Police
Department, Nassau County Police Commissioner Patrick J. Ryder, Nassau County Police
Officer Robert B. McGrory and Nassau County Police Officer Kenneth J. Magnuson
(collectively, the “County Defendants”) in the above-referenced action, in which plaintiff
.Carl Semencic (“plaintiff”) claims violations of his civil rights in connection with his arrest
July 19, 2016 for Menacing in the Second Degree and Criminal Possession of a Weapon.
The criminal charges against plaintiff were dismissed on speedy trial grounds on May 21,
2018, after which all records of plaintiff’s arrest and prosecution were sealed pursuant to
CPL §§ 160.50 and 160.55,

As stated in this morning’s telephone conference, the County Defendants require an
unsealing order in order in order to obtain the records of plaintiffs arrest and prosecution in
order to evaluate the merits of the case and to prepare their defense. As the Court directed in
the conference, the County Defendants have prepared the attached Order to Unseal Records
for the Court’s signature in order for the records to be released. The County Defendants
therefore respectfully request that the Court sign the attached Order so that the relevant
records may be released.

As always, the County Defendants thank Your Honor for your attention and
consideration in this matter,

Respectfully submitted,

/s/ Ralph J, Reissman
RALPH J. REISSMAN
Deputy County Attorney

cc: All counsel of record

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

CARL SEMENCIC,
Plaintiff, 18-CV-05244 (SJF)(AKT)

-against- ORDER TO UNSEAL RECORDS

THE COUNTY OF NASSAU, THE NASSAU
COUNTY POLICE DEPARTMENT, COMMISSIONER
PATRICK J. RYDER, individually and officially,
POLICE OFFICER ROBERT B. McGRORY,
Individually and officially, POLICE OFFICER
KENNETH J, MAGNUSON, individual and officially,
JOHN DOE #1, individually, THE FRANKLIN
SQUARE AND MUNSON FIRE DEPARTMENT,
DANIEL MALONEY, individually, ROBERT
FINEO, individually, and JOHN DOE #2,
Individually,

Defendants.

WHEREAS, plaintiff CARL SEMENCIC (“plaintiff”) commenced the within action on
September 18, 2018 against, inter alia, The County of Nassau, The Nassau County Police
Department, Nassau County Police Commissioner Patrick J. Ryder, Nassau County Police Officer
Robert B. McGrory and Nassau County Police Officer Kenneth J. Magnuson (collectively, the
“County Defendants”), arising out the arrest of plaintiff on or about July 19, 2016, and

WHEREAS, the Nassau County District Attorney’s Office prosecuted plaintiff under
Docket No. 2016NA020473, and

WHEREAS, the criminal charges filed against plaintiff were dismissed on speedy trial

grounds on or about May 21, 2018, and

WHEREAS, the records relating to the arrest and prosecution of plaintiff have been sealed
pursuant to CPL §§ 160,50 and 160,55,

NOW, it is hereby ORDERED that the aforesaid records in the possession of the Nassau
County Police Department, the Nassau County District Atterney’s Office, the Nassau County
District Court, the Nassau County Correctional Center, the County Court of Nassau County, be
released to an authorized representative of the Nassau County Attorney’s Office, and it is further

ORDERED, that the records to be made available to the Nassau County Attorney’s Office
comprise all records and papers relating to the arrest of plaintiff in the criminal action identified
herein on file with any court, police agency, prosecutor’s office or sate or local agency that were
ordered to be sealed under the provisions of CPL §§160.50 and 160.55,

Dated: Central Islip, New York
January , 2019

HON. SANDRA J. FEURSETIN, U.S.D.J.

